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IN THE UNITED sTATEs DIsTRICT CoURr ` H""D `r` c? _ -:;- ,.
FOR THE WESTERN DIsTRICT or TENNESSEE se ,_
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THOMAS P. LEWIS,

 

Plaintiff,

v. No. 02-2958 B

UNITED STATES OF AMERICA,

Defendant.

 

ORDER DENYING AS MOOT MOTIONS OF THIRD-PARTY DEFENDANT
EDMONDS AND PLAINTIFF LEWIS FOR PARTIAL SUMMARY JUDGMENT

 

This lawsuit Was initiated by the Plaintiff, Thornas P. Lewis, on December l3, 2002 against
the United States of America (the "USA"), pursuant to the lntemal Revenue Code, seeking recovery
of $2,711.16 plus interest paid to the USA for employment tax liabilities and penalties assessed
against him. The USA denied liability and, on February 6, 2003, filed a counterclaim against Lewis
for trust fund penalty assessments in the amount of $4,211,466.27, plus penalties, interest and
statutory additions. On or about February 12, 2002, the lnternal Revenue Service assessed against
Ronald L. Edmonds trust fund recovery penalties related to employment taxes owed by
VisionAmerica, Inc. and, on February 11, 2003, the USA filed a third-party complaint against
Edmonds to reduce those penalty assessments to judgment Edmonds moved for partial summary
judgment pursuant to Rule 56(b) of the Federal Rules of Civil Procedure on August 31, 2004 as to
Counts l and ll of the third-party complaintl The motion Was joined in by the Plaintiff on Oetober
l, 2004. The two motions for partial summary judgment are currently before the Court.

Rule 56(b) provides in pertinent part that "[a] party against Whom a claim, counterclaim, or

  

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man Rule 58 and/or 79(3) FFlCP on ss /§/Q ’g,'._[j

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cross-claim is asserted . . . may, at any time, move with or Without supporting affidavits for a
summary judgment in the party's favor as to all or any part thereof." Fed. R. Civ. P. 5 6(b). ln their
motions, Edmonds and Lewis aver that summary judgment is appropriate as to Counts I and ll based
on the USA's concession that the tax assessments for the fourth quarter of 1998 and the first quarter
of 1999 have been satisfied ln response to the motions, the USA has advised the Court as follows:

As Edmonds correctly points out, the United States states in its complaint and
in its Fed. R. Civ. P. 26(a)(l) disclosures that the assessed tax liabilities for 4th
quarter 1998 and the lst quarter 1999 were paid. . . . The certified tax transcript for
Edmonds attached to the summary judgment memorandum reflects that these
payments were credited against the original tax assessment That is Why $4.2 million
is the outstanding balance on Edmonds' account instead of the original $5.8 million
assessed. . . . The tax liabilities had to be assessed before they could be abated.

Consistent With the abatement, the United States' prayer for relief seeks $4.2
million, plus statutory additions from the date of assessment, in damages. As the
Edmonds tax transcript confirms, the damages sought by the United States are the
outstanding tax liability that remains after the payments were credited. Edmonds‘
contention -- that the United States is attempting to collect on liabilities previously
paid -- is wrong and is contrary to the relief sought in the complaints' prayers for
relief.

lndeed, Edmonds is seeking relief from something that was never asserted.

(United States' Opp'n to Edmonds' and Lewis' Mots. for Partial Summ. J. at 1-2.) Thus, as it appears
to the Court that the relief sought by the Plaintiff and the Third-Party Defendant is not necessary, the
motions are DENlED as moot.

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. D NIEL BREEN
ED STATES DISTRICT JUDGE

 

May 16, 2005 to the parties listed.

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